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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


                                       :
AQUIL ABDUL-SALAAM,                    :
                                       :
                Plaintiff,             :
                                       :
           v.                          :            3:08-CV-207(EBB)
                                       :
ANDREA LOBO-WADLEY and                 :
NEW HAVEN BOARD OF EDUCATION           :
                                       :
                Defendants             :
                                       :

         RULING ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

     Plaintiff Aquil Abdul-Salaam ("Abdul-Salaam") sued Andrea

Lobo-Wadley and the New Haven Board of Education ("NHBE"

collectively, "Defendants") for damages because of a statement

attributed to Lobo-Wadley in a New Haven Register article.             The

statement concerned the reason for Abdul-Salaam's termination as

a substitute teacher by the NHBE.      Counts One and Two of the

Complaint are, respectively, state-law claims for defamation and

false light invasion of privacy against Lobo-Wadley.           The Court

and Defendants construe Count Three as alleging a stigma plus

claim under 42 U.S.C. § 1983 against Lobo-Wadley.           Count Four

repeats Count Three, but is brought against NHBE.1

     Currently pending before the Court is Defendants' Motion for


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      Defendants incorrectly state in their Memorandum of Law in
Support of Defendants' Motion for Summary Judgment that "The
complaint in this action contains four counts, but the fourth
count is a repetition of the third count." (Mem. at 1.) This is
inaccurate. Count Four of the Complaint incorporates paragraphs
1 through 13 of Count Three and is brought against the NHBE.
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Summary Judgment [doc. #22] on all counts of the Complaint.                For

the following reasons, Defendants' Motion for Summary Judgment is

DENIED.

                          FACTUAL BACKGROUND

     The Court sets forth only those facts deemed necessary to an

understanding of the issues raised in, and this decision rendered

on, Defendants' motion.      The factual summary below does not

represent factual findings of the Court.        All facts stated below

are undisputed unless stated otherwise.

     Abdul-Salaam, a New Haven, Connecticut resident, was

employed as a substitute teacher by the NHBE from early November,

2006 until the end of the 2006-2007 school year and then for the

2007-2008 school year until his termination on October 12, 2007.

Lobo-Wadley was employed by the NHBE as the Director of Personnel

and Labor Relations for the New Haven public schools.

     During the 2007-2008 school year, Abdul-Salaam was assigned

to Beecher Elementary School ("Beecher") as a building substitute

teacher.   His specific assignment was to supervise music classes

for all grades.

     Abdul-Salaam did not possess the requisite skills to teach

music to students.   Instead of teaching music, the principal and

assistant principal of Beecher instructed Abdul-Salaam to show

movies to the students in his classes.       Accordingly, Abdul-Salaam

showed various movies that he obtained from the school library


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and from other teachers.       The assistant principal of Beecher gave

Abdul-Salaam two PG-13 rated movies to show to his second, third,

and fourth grade classes.       When Abdul-Salaam ran out of movies

from the school, he purchased a bootleg copy of the cartoon movie

The Simpsons Movie that he showed to those same classes.              He was

present in the classroom each time that he showed The Simpsons

Movie to his students.       Abdul-Salaam neither viewed the movie

before he showed it to his students, nor did he either read the

movie's cover or research its content on the internet.             He did

not ask Beecher administrators for permission to show The

Simpsons Movie to his students.

     The Simpsons Movie, which was based on the popular and long-

running television program, contains a brief image of Bart

Simpson's genitalia as he skateboards naked across Springfield

and, during this skateboard ride, another character, Ned

Flanders, sees Bart and yells the word "penis," which is then

repeated by his sons.    The movie also includes a scene in which

two male police officers kiss.

     After Abdul-Salaam showed the movie in class, John Elliott

("Elliott"), a parent who had children in Abdul-Salaam's music

classes, complained to Beecher's principal and to the New Haven

Superintendent of Schools, Reginald Mayo ("Mayo"), about his

children having been shown the movie.        Mayo notified Lobo-Wadley

in her capacity as the Director of Personnel and Labor Relations


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to investigate Elliott's complaint.

     On October 5, 2007, Lobo-Wadley sent Abdul-Salaam a letter

notifying him that he was being placed on unpaid leave pending

investigation into his conduct of allegedly showing a movie to

students containing what was termed "obscenity and profanity" and

that a hearing regarding his conduct was scheduled for October

11, 2007.   At the hearing, Abdul-Salaam admitted that he had

shown The Simpsons Movie to second, third and fourth graders and

that he had not watched it beforehand.       He also explained that he

had done so because he was running out of things to do with the

children and that he thought that the movie was only a cartoon.

     Lobo-Wadley relayed this information to Mayo.           Subsequently,

Mayo terminated Abdul-Salaam's employment as a substitute teacher

via a letter Lobo-Wadley drafted for his signature.           This letter

stated in part that Abdul-Salaam was being terminated as a

substitute teacher "for reasons of poor judgment."           The context

of the letter established that the "poor judgment" pertained to

Abdul-Salaam's decision to show The Simpsons Movie to second,

third and fourth grade students.

     Subsequently, the New Haven Register, a daily newspaper of

general circulation, investigated Abdul-Salaam's termination.

Reporter Phil Helsel ("Helsel") spoke to Elliott and then to

school personnel for their comments.       During a telephone

conversation, Helsel asked Lobo-Wadley a number of questions


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about the circumstances of Abdul-Salaam's termination.             Lobo-

Wadley answered Helsel's questions.        Among the statements made by

Lobo-Wadley to Helsel were that Abdul-Salaam had told her that he

had not watched The Simpsons Movie prior to showing it in school

and that he thought that it was just a cartoon.

     On October 19, 2007, an article written by Helsel was

published in the New Haven Register about Abdul-Salaam's

termination.   This article was disseminated globally via the

internet.   The ninth paragraph of the article contained a

sentence attributed to Lobo-Wadley which read:

     He was placed on unpaid administrative leave
     immediately after the Oct. 4 complaint, and was fired
     last Friday for "obscenity and insubordination," she
     said.

According to Helsel, the portion of the sentence in quotation

marks was a direct quote of what Lobo-Wadley told him and the

rest of the sentence was paraphrased.        Lobo-Wadley disputes the

exact quotation.

     At her deposition, Lobo-Wadley testified that when she used

the word "obscenity" during her telephone conversation with

Helsel, she was referencing the content of The Simpsons Movie.2

At the time of her deposition, Lobo-Wadley had never watched The

Simpsons Movie.    Helsel testified that he did not ask Lobo-Wadley

what she meant by the term "obscenity" because he understood that


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      The Court makes no findings regarding whether any scenes
within The Simpsons Movie were actually obscene.

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she was referring to the portions of the movie that showed Bart

Simpson skateboarding naked and that he believed that one could

argue that the scene in which two male police officers kissed was

also obscene.

                         STANDARD OF REVIEW

     On a motion for summary judgment, the moving party has the

burden to establish that there are no genuine issues of material

fact in dispute and that it is entitled to judgment as a matter

of law.   FED. R. CIV. P. 56©.   See also Anderson v. Liberty Lobby,

477 U.S. 242, 256 (1986)(holding that a plaintiff must present

affirmative evidence in order to defeat a properly supported

motion for summary judgment).     An issue of fact is "material" if

it "might affect the outcome of the suit under the governing

law," while an issue of fact is "genuine" if "the evidence is

such that a reasonable jury could return a verdict for the

nonmoving party."   Anderson, 477 U.S. at 248 (1986).

     If the nonmoving party fails to make a sufficient showing on

an essential element of its case with respect to which it has the

burden of proof at trial, then summary judgment is appropriate.

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).           "In such a

situation, there can be 'no genuine issue as to any material

fact,' since a complete failure of proof concerning an essential

element of the nonmoving party's case necessarily renders all

other facts immaterial."     Id. at 322-23, accord, Goenaga v. March


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of Dimes Birth Defects Found., 51 F.3d 14, 18 (2d. Cir. 1995)

(holding that a movant's burden is satisfied by showing the

absence of evidence supporting an essential element of the

nonmoving party's claim).

       Courts are mandated to "resolve all ambiguities and draw all

inferences in favor of the nonmoving party. . . ."              Aldrich v.

Randolph Cent. Sch. Dist., 963 F.2d. 520, 523 (2d Cir. 1992).

"Only when reasonable minds could not differ as to the import of

the evidence is summary judgment proper."           Bryant v. Maffucci,

923 F.2d 979, 982 (2d Cir. 1991).         If the nonmoving party submits

evidence which is "merely colorable," or is not "significantly

probative," summary judgment may be granted.            Anderson, 477 U.S.

at 249-50.

                                 DISCUSSION

I.   Introduction

       Abdul-Salaam's Complaint contains four counts.            Counts One

and Two are, respectively, state-law claims for defamation and

false light invasion of privacy against Lobo-Wadley.              Both claims

assert that because of Lobo-Wadley's statement to the New Haven

Register, Abdul-Salaam lost "his ability ever to work in the

field of education [again] and [that he] has suffered emotional

distress, humiliation, disgrace and economic loss."              (Compl. at ¶

10.)    The Court and Defendants construe Count Three as alleging a

stigma plus claim under 42 U.S.C. § 1983 against Lobo-Wadley for


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depriving Abdul-Salaam "of his liberty right to practice his

profession without a name-clearing hearing as to the charge of

obscenity, in violation of the due process clause of the

Fourteenth Amendment to the United States Constitution, as

enforced through Sections 1983 and 1988 of Title 42 of the United

States Code."    (Compl. at ¶ 13.)       Count Four repeats Count Three,

but is brought against the NHBE.         Abdul-Salaam does not seek a

name clearing hearing; only damages.

     Defendants move for summary judgment on all counts.

Specifically, regarding Counts One and Two, they allege that

Lobo-Wadley's statement to the New Haven Register was true, a

defense to both claims of defamation and of false light invasion

of privacy.    Regarding Count One, Defendants also argue that

Lobo-Wadley did not possess the requisite malice to sustain the

claim.   On Count Three, Defendants argue both that Lobo-Wadley's

statement was true and that she is entitled to qualified immunity

because reasonable central office administrators could disagree

about the falsity of her statement.         Defendants construe Count

Four to be identical to Count Three and seek its dismissal for

that reason.



A.   Defamation Claim Against Lobo-Wadley (Count One)

     As noted, Abdul-Salaam maintains that Lobo-Wadley defamed

him when she spoke to the reporter for the New Haven Register and


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stated that he was fired for obscenity.       Lobo-Wadley asserts the

truth of her statement.      She maintains that no reasonable person

would understand it to mean anything other than that The Simpsons

Movie contained obscenity and that Abdul-Salaam's display of that

movie for children led to his termination.

     In Connecticut, a defamatory statement is defined as "a

communication that tends to harm the reputation of another as to

lower him in the estimation of the community or to deter third

persons from associating or dealing with him."          Gambardella v.

Apple Health Care, Inc., 291 Conn. 620, 627 (2009).           "To

establish a prima facie case of defamation, a plaintiff must

demonstrate that: (1) the defendant published a defamatory

statement; (2) the defamatory statement identified the plaintiff

to a third person; (3) the defamatory statement was published to

a third person; and (4) the plaintiff's reputation suffered

injury as a result of the statement."       Id. (quoting Cweklinsky v.

Mobil Chem. Co., 267 Conn. 210, 217 (2004)).         Falsity is an

essential element of a defamation claim.        Consequently, the truth

of an allegedly defamatory statement refutes a prima facie case

of defamation.   See Woodcock v. Journal Publishing Co., 230 Conn.

525, 553-54 (1994).    To recover punitive damages, a plaintiff

must prove actual malice.     Gambardella, 291 Conn. at 628.

     Defendants' aver that "the statement that the plaintiff was

fired 'for obscenity' is not false . . . ."         (Mem. at 15.)


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However, elsewhere in their memorandum, they state that

"reasonable school administrators could disagree [about] whether

the statement that the plaintiff was 'fired for 'obscenity'' read

in the context of the rest of the newspaper article was a false

statement."      (Mem. at 12.)

       On a motion for summary judgment, the Court is obliged to

construe all facts and make all inferences in favor of the non-

moving party.      Because, as Defendants concede, reasonable school

administrators could disagree about the truth of Lobo-Wadley's

statement, the Court finds that reasonable jurors might deny the

truth of Lobo-Wadley's statement as well.             Consequently, as a

matter of law, Defendants cannot prevail on a motion for summary

judgment on Count One because their defense to the charge of

defamation is the truth of Lobo-Wadley's statement.

       With regard to their argument that Lobo-Wadley did not act

with the requisite malice, "actual malice [is defined] as the

publication of a false statement with knowledge of its falsity or

reckless disregard for its truth."            Gambardella, 291 Conn. at

634.     The evidence establishes that Lobo-Wadley knew the veracity

of her statement to Helsel because she knew the reason for Abdul-

Salaam's termination.       Because Lobo-Wadley drafted the

termination letter for Mayo's signature, she knew that Abdul-

Salaam was fired for poor judgment.            Because actual malice is

knowledge of a statement's truth or falsity and Lobo-Wadley knew



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the truth of her statement to Helsel, summary judgment is

inappropriate for Plaintiff's defamation claim.



B.   False Light Invasion of Privacy Claim Against Lobo-Wadley

(Count Two)

      Abdul-Salaam seeks compensatory and punitive damages from

Defendants for Lobo-Wadley's alleged false light invasion of

privacy.

      "The essence of a false light privacy claim is that the

matter published concerning the plaintiff (1) is not true; and

(2) is such a major misrepresentation of his character, history,

activities or beliefs that serious offense may reasonably be

expected to be taken by a reasonable man in his position."

Goodrich v. Waterbury Republican-American, Inc., 188 Conn. 107,

131 (1982) (internal quotations and citations omitted).              In such

a case, a false light invasion of privacy occurs if: "(a) the

false light in which the other was placed would be highly

offensive to a reasonable person, and (b) the actor had knowledge

of or acted in reckless disregard as to the falsity of the

publicized matter and the false light in which the other would be

placed."   Id. (quotations and citations omitted).

      Assuming that any reasonable person would be offended if

falsely accused of having been terminated for obscenity and

because, as discussed above, even Defendants concede that



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"reasonable school administrators could disagree whether the

statement . . . was a false statement" (Mem. at 12), summary

judgment is inappropriate on Count Two.



C.   Stigma Plus Claim Against Lobo-Wadley (Count Three)

     Defendants seek summary judgment on Count Three, the stigma

plus claim, for two reasons: first, because of the alleged truth

of Lobo-Wadley's statement and second, because they claim that

Lobo-Wadley is entitled to qualified immunity.           A "stigma plus"

claim provides, in limited circumstances, a remedy for government

defamation under federal constitutional law.           See Doe v. Dep't of

Pub. Safety ex rel. Lee, 271 F.3d 38, 47 (2d Cir. 2001), rev'd on

other grounds, Conn. Dep't of Pub. Safety v. Doe, 538 U.S. 1

(2003).



1.   The Falsity of Lobo-Wadley's Statement

     Defendants argue that "no jury could reasonably find that

the statement in the newspaper article attributed to defendant

Lobo-Wadley that the plaintiff was fired for obscenity created a

false impression regarding the reason for the plaintiff's

termination."    (Mem. at 8.)     However, again, in their discussion

of whether Defendant Lobo-Wadley is entitled to qualified

immunity, Defendants state that "reasonable school administrators

could disagree whether the statement that the plaintiff was



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'fired for 'obscenity'' read in the context of the rest of the

newspaper article was a false statement."           (Mem. at 12.)      Because

of their contradicting assertions regarding this issue, it seems

impossible for "reasonable school administrators" to disagree

regarding the meaning of Lobo-Wadley's statement, but that the

Court, resolving all ambiguities and drawing all inferences in

favor of Abdul-Salaam, could find that no jury could reach "a

false impression regarding the reason for the plaintiff's

termination."    Consequently, for the purposes of summary

judgment, Defendants have not established the truth of Lobo-

Wadley's statement to Helsel.



2.   Lobo-Wadley Claim of Qualified Immunity

     Defendants also seek summary judgment on Count Three on the

grounds that Lobo-Wadley is entitled to qualified immunity.

     "Qualified immunity shields government officials from civil

suits for damages 'insofar as their conduct does not violate

clearly established statutory or constitutional rights of which a

reasonable person would have known.'"         Higazy v. Templeton, 505

F.3d 161, 169 (2d Cir. 2007) (quoting Harlow v. Fitzgerald, 457

U.S. 800, 818 (1982)).        Qualified immunity is not only a defense,

it is "an entitlement not to stand trial or face the other

burdens of litigation."       Mitchell v. Forsyth, 472 U.S. 511, 526

(1985).   The qualified immunity defense requires consideration of



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the clarity of the law establishing the right allegedly violated

and whether a reasonable person, acting under the circumstances

then confronting a defendant, would have understood that the

applicable law was being violated.         These inquiries combine to

form a standard that the Supreme Court in Harlow called

"objective legal reasonableness."       Harlow, 457 U.S. at 819.              The

Supreme Court has made clear that the question of qualified

immunity should be resolved at the earliest possible opportunity.

Pearson v. Callahan, 129 S. Ct. 808, 815 (2009).

     When evaluating a motion for summary judgment on the basis

of qualified immunity, the court must engage in a two-part

inquiry to assess whether the official's conduct violated a

clearly established constitutional right.          See Pearson, 129 S.Ct.

at 815-16.    Under Saucier v. Katz, 533 U.S. 194 (2001), the

threshold question asked is "whether the facts that a plaintiff

has alleged or shown make out a violation of a constitutional

right."   Id.   If a violation of a constitutional right can be

demonstrated, then the court proceeds with the second question,

"whether the right at issue was 'clearly established' at the time

of defendant's alleged misconduct."         Id. at 816.       In Pearson, the

Supreme Court modified the Saucier inquiry, holding that the

questions need not proceed in this rigid order.              Id. at 818

(deeming the Saucier inquiry order "beneficial," but no longer

necessary).


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     We thus begin by examining whether Lobo-Wadley's conduct was

prohibited by federal law.     Abdul-Salaam's complaint alleges that

Lobo-Wadley made a defamatory statement about him to the New

Haven Register.    Defamation is an issue of state law and not

federal constitutional law and therefore provides an insufficient

basis to maintain a Section 1983 action.        Lauro v. Charles, 219

F.3d 202, 207 (2d Cir. 2000) (citing Paul v. Davis, 424 U.S. 693,

699-701 (1976)).    However, liberally construing the allegations

contained within the Complaint, Abdul-Salaam appears to seek

relief under the "stigma plus" doctrine, which in limited

circumstances provides a remedy for government defamation under

federal constitutional law.      See Doe v. Dep't of Pub. Safety ex

rel. Lee, 271 F.3d 38, 47 (2d Cir. 2001), rev'd on other grounds,

Conn. Dep't of Pub. Safety v. Doe, 538 U.S. 1 (2003).

     To bring a stigma plus claim, "a plaintiff [must] allege (1)

the utterance of a statement about her that is injurious to her

reputation, 'that is capable of being proved false, and that he

or she claims is false,' and (2) 'some tangible and material

state-imposed burden . . . in addition to the stigmatizing

statement,'"   Velez v. Levy, 401 F.3d 75, 87 (2d Cir. 2005)

(citations omitted).    The first prong is the stigma and the

second is the "plus."    See DiBlasio v. Novello, 344 F.3d 292, 302

(2d Cir. 2003).

     Defendants rightly concede that the second prong of the


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stigma plus test is met because Abdul-Salaam was terminated;

unquestionably a state-imposed burden.        See DiBlasio, 344 F.3d at

302 ("it is clear that defamation 'plus' loss of government

employment satisfies the Paul 'plus factor.'")          Defendants only

contest the first prong–whether a stigmatizing statement was

made.

     Specifically, Defendants argue that it was objectively

reasonable for Lobo-Wadley to make the challenged statement

because reasonable administrators could disagree regarding the

legality of her actions.     But this is not true–reasonable

administrators would not likely disagree about whether

publicizing a stigmatizing statement at the time of termination

is legal.   Reasonable administrators might disagree about whether

Lobo-Wadley's statement to Helsel was defamatory–just as the

Court finds that reasonable jurors might–but that disagreement

does not mean that the legality of a stigma plus claim is

questionable.   Construing all facts in favor of the nonmoving

party, the Court concludes that a reasonable juror could conclude

that Lobo-Wadley's statement was injurious to Abdul-Salaam's

reputation and was therefore stigmatizing.

     Having sufficiently alleged a violation of a constitutional

right, under Saucier, the second question is "whether the right

at issue was 'clearly established' at the time of defendant's

alleged misconduct."    533 U.S. at 816.      It was.       See Neu v.


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Corcoran, 869 F.2d 662, 667 (2d Cir. 1989) (discussing how

termination from a government job coupled with defamation can be

a deprivation of a liberty interest).         Because "the law was

clearly established, the immunity defense ordinarily should fail,

since a reasonably competent public official should know the law

governing his conduct."       Harlow, 457 U.S. at 818-19.

     Thus, because Abdul-Salaam had a constitutional right that

was well-established and because a reasonable juror could

conclude that Lobo-Wadley made a stigmatizing statement in

connection with his termination, she is not entitled to qualified

immunity.   See Saucier, 533 U.S. 194.        Consequently, summary

judgment is inappropriate on Count Three.



D.   Stigma Plus Claim Against The NHBE (Count Four)

     As noted, Defendants incorrectly allege that Count Four of

the Complaint is identical to Count Three.           However, despite the

lack of any argumentation from Defendants, the Court holds that

summary judgment is inappropriate on Count Four because of the

same analysis of falsity as discussed regarding Count Three.



                                CONCLUSION

     For the foregoing reasons, Defendants' Motion for Summary

Judgment [doc. #22] is DENIED.       Plaintiff's Motion to Strike

[doc. #23] is DENIED because the Court does not need to reach its


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merits to decide Defendants' Motion for Summary Judgment.


                                  SO ORDERED


                                           /s/

                                  ELLEN BREE BURNS
                                  SENIOR U.S. DISTRICT JUDGE


Dated at New Haven, Connecticut this 14th day of October, 2009.




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